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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

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506-1,4, 2006 U.S. Dist. LEXIS 64085, at *134-36, (N.D. Ill. Sep. 7, 2006) (concluding,
following in camera hearing with juror, that juror did not deliberately omit prior
misdemeanor from juror questionnaire); Torres v. First Transit, Inc., No. 17-CV-81162,
2021 WL 3361031, at *20 (S.D. Fla. Aug. 3, 2021), aff'd, No. 19-12185, 2022 WL
4482715 (11th Cir. Sept. 27, 2022) (concluding, following juror testimony, that jurors
were not dishonest despite failing to mention involvement in previous lawsuits during
voir dire).
      The Court ORDERS Defendant and Plaintiff Netlist Inc. (“Plaintiff”) to file, by
July 9, 2025, a status report proposing how the Court should elicit testimony from the
jurors in question. If needed, the Court will continue or vacate the July 11, 2025,
hearing.




      IT IS SO ORDERED.




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